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                                         proof of work / proof of stake mining




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                                                                Blockchain mining is computationally in-depth work that

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                                about us hashpower blockchains     a lot of time
                                                                              us and processing power. Blockchain
                                                                                   blog
                                                               miners are rewarded for providing solutions to challenging
                                                                  math problems via blockchain technology. A proper
                                                                blockchain project is a decentralized network that can be
                                                               used by anyone and is capable of running applications with
                                                                no possibility of downtime, censorship or fraud. We only
                                                                    support truly decentralized blockchain projects.




                                                                        our hash power
                                                                            33,000 M/hs Ethereum
                                                                            430 g/s Cuckatoo 31
                                                                                             To view this content, click reload.
                                                                            147 g/s Cuckatoo 32
                                                                            110 Gh/s Random X
                                                                            2000 Th/s SHA-256
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